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                                                                  UNITED STATES BANKRUPTCY COURT
                                                                   WESTERN DISTRICT OF MICHIGAN


In re: BARFLY VENTURES, LLC, et al.,1                                                                           Case No. 20-1947-jwb
                                                                                                                Reporting Period: April 30, 2021


                                                                       MONTHLY OPERATING REPORT
                                     File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                    Document          Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                       Form No.                    Attached          Attached         Attached
Schedule of Cash Receipts and Disbursements                                            MOR-1                    MOR 1 - Disbursements
   Bank Reconciliation (or copies of debtor's bank reconciliations)                    MOR-1a                            X
   Schedule of Professional Fees Paid                                                  MOR-1b                            X
   Copies of bank statements                                                                                          MOR 1a
   Cash disbursements journals
Statement of Operations                                                                MOR-2                              X
Balance Sheet                                                                          MOR-3                                                 X
Status of Postpetition Taxes                                                           MOR-4                             N/A
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                   MOR-4                             N/A
  Listing of aged accounts payable                                                     MOR-4                             N/A
Accounts Receivable Reconciliation and Aging                                           MOR-5                             N/A
Debtor Questionnaire                                                                   MOR-5                              X


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                ______________________________
Signature of Debtor                                                                    Date


_______________________________________                                                ______________________________
Signature of Joint Debtor                                                              Date

                                                                                       5.13.21
_______________________________________                                                ______________________________
Signature of Authorized Individual*                                                    Date

Ned Lidvall                                                                            CEO
_______________________________________                                                ______________________________
Printed Name of Authorized Individual                                                  Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

1- The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552),
HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
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In re: BARFLY VENTURES, LLC, et al.                                                                     Case No. 20-1947-jwb
                        Debtor                                                                          Reporting Period: April 30, 2021


                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                  BANK ACCOUNTS                              CURRENT MONTH                    CUMULATIVE FILING TO DATE
                                         OPER.    PAYROLL       TAX       OTHER           ACTUAL            PROJECTED               ACTUAL             PROJECTED
CASH BEGINNING OF MONTH


RECEIPTS
CASH SALES
ACCOUNTS RECEIVABLE
LOANS AND ADVANCES
SALE OF ASSETS
                                                                                  See MOR 1 - Disbursements
OTHER (ATTACH LIST)
TRANSFERS (FROM DIP ACCTS)


  TOTAL RECEIPTS


DISBURSEMENTS
NET PAYROLL
PAYROLL TAXES
SALES, USE, & OTHER TAXES
INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
OTHER (ATTACH LIST)


OWNER DRAW *
TRANSFERS (TO DIP ACCTS)


PROFESSIONAL FEES
U.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS


NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                          THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                             $
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $
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In re: BARFLY VENTURES, LLC, et al,1                                                                                                                                      Case No. 20-1947-jwb
           Debtor                                                                                                                                               Reporting Period: April 30, 2021

                                                                                                               MOR 1 - Disbursements

                                      Beginning        In-transit                                                                                                  Service        Ending Bank
                                     Balance BS      (deposits/ x-                                                                                               Charges &          Balance        Ending Balance
                                     3/31/2021         fer/disb.)        Deposits       Disbursements       X-Fer Out       X-fer In X-fer to Buyer Chargebacks     Other          4/30/2021        BS 4/30/2021    Bank Stmt     Diff.
               Chemical 5015     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
               Chemical 5608     $          14,765   $         -     $              -   $          -      $        -    $          - $          -   $        (3) $       -      $        14,762    $       14,762   $    14,762    -
               Chemical 7488     $       1,089,016   $         -     $              -   $          -      $ (655,000)   $          - $          -   $      -     $        42    $       434,058    $      434,058   $   434,058    -
               Chemical 5554     $          13,952   $         -     $              -   $      (88,965)   $ (105,000)   $    655,000 $          -   $      -     $       (51)   $       474,936    $      474,936   $   474,936    -
         Main Mercantile 4777    $          61,603   $         -     $              -   $    (124,896)    $        -    $    105,000 $          -   $      -     $      (113)   $        41,595    $       41,595   $    41,595    -
              Mercantile 6311    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
              Mercantile 6926    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
          FSA-Mercantile 0888    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
        GRBC-Mercantile 1069     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
           AA-Mercantile 3877    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
        GRbel-Mercantile 0488    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCBR 3840     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
              HC Detroit 3859    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HC EL 8171    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCGR 4123     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                 HCHOL 0451      $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCKC 9044     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCKZ 9227     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCLN 0830     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCLV 8353     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCLX 5216     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                  HCMD 8215      $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                  HCMN 8664      $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCRO 9062     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                  Stellas 4115   $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                Waldron4460      $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                 HCCHIC6863      $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                   HCLIN8959     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                     BFV4153     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                     BFV9371     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
                     BFV9828     $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -
         Cash on hand & misc.    $             -     $         -     $              -   $          -      $        -    $          - $          -   $      -     $       -      $           -      $          -                    -

Total                            $      1,179,337    $          -    $              -   $    (213,860) $ (760,000) $         760,000                 $        (3) $     (122) $        965,351     $     965,351    $   965,351   $ -
                                                                                                                                 -
                                                     UST Fees
                                                     Disbursements for the period       $     213,860
                                                      Rate effective April 2021                 0.80%
                                                                                        $     1,710.88
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In re: BARFLY VENTURES, LLC, et al.                                                                           Case No. 20-1947-jwb
                Debtor                                                                                        Reporting Period: April 30, 2021

                                                                BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                   A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

                                                        Operating                          Payroll                         Tax                                Other
                                              #                               #                               #                               #
BALANCE PER BOOKS

BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
                                                                                              See Attachment MOR 1a
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
   balance per books

DEPOSITS IN TRANSIT                                Date          Amount            Date          Amount            Date          Amount               Date        Amount




CHECKS OUTSTANDING                                Ck. #          Amount            Ch. #         Amount            Ck. #         Amount               Ck. #       Amount




OTHER
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In re: BARFLY VENTURES, LLC, et al.                                                                                                                     Case No. 20-1947-jwb
                Debtor                                                                                                                        Reporting Period: April 30, 2021

                                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                       This schedule is to include all retained professional payments from case inception to current month.

                                                                              Amount                          Check                   Amount Paid           Filing-To-Date
                      Payee                          Period Covered          Approved        Payor        Number    Date             Fees  Expenses       Fees        Expenses

Rock Creek Advisors (Debtor FA)                                                        Debtor             WIRE                                        $   538,017   $      -
Mastodon Ventures (Debtor IB)                                                          Debtor             WIRE                                        $    60,000   $      -
Warner Norcross + Judd (Debtor - Local)                                                Debtor             WIRE                                        $   152,588   $   52,807
Sugar Felsnethal Grais & Helsinger LLP (UCC)                                           Debtor             WIRE                                        $   266,790   $       35
Jaffee Raitt Heuer & Weiss (UCC)                                                       Debtor             WIRE                                        $   131,477   $      168
Amherst Partners (UCC FA)                                                              Debtor             WIRE                                        $    53,780   $      -
Pachulski Stang Ziehl & Jones LLP (Debtor Counsel)                       $      88,965 Debtor             WIRE                     $88,965            $   231,067   $      746
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In re: BARFLY VENTURES, LLC, et al.                                                                         Case No. 20-1947-jwb
                Debtor                                                                                      Reporting Period: April 30, 2021

                                             STATEMENT OF OPERATIONS
                                                         (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                     Current Reporting       Cumulative Filing to
REVENUES                                                                                  Month                    Date
Gross Revenues                                                                                                          8,445,922
Less: Returns and Allowances                                                                                              266,160
Net Revenue                                                                                                             8,179,762
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                                                        2,075,402
                                                                                                                          6,104,360
OPERATING EXPENSES
Cure Costs                                                                                                                  508,081
Employee Benefits Programs                                                                                                  386,404
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance                                                                                                      14,828
Rent and Lease Expense                                                                                                    2,075,725
Salaries/Commissions/Fees                                                                                                 3,420,137
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities                                                                                                                     8,180
Misc                                                                                               20,147                 2,698,945
Total Operating Expenses Before Depreciation                                                       20,147                 9,107,601
Depreciation/Depletion/Amortization                                                                                       2,249,155
Net Profit (Loss) Before Other Income & Expenses                                                 (20,147)                (5,252,396)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                                              (73,363)
Interest Expense                                                                                                          1,458,001
Other Expense (See attached schedule) "Other G&A"                                                                           417,527
Net Profit (Loss) Before Reorganization Items                                                    (20,147)                (7,054,561)
REORGANIZATION ITEMS
Professional Fees                                                                                  88,965                 1,204,694
Impairment                                                                                                                  186,130
U. S. Trustee Quarterly Fees                                                                      104,749                    59,430
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                                             731,161
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                              ($213,860)                (9,235,975)

*"Insider" is defined in 11 U.S.C. Section 101(31).
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In re: BARFLY VENTURES, LLC, et al.                                                                                                   Case No. 20-1947-jwb
                                Debtor                                                                                                Reporting Period: April 30, 2021


                                                                         BALANCE SHEET 2

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                                        ASSETS                                                CURRENT REPORTING MONTH                          PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                                                                $6,661,689
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)                                                                                                                                           $36,786
Notes Receivable
Inventories                                                                                                                                                        $628,379
Prepaid Expenses                                                                                                                                                   $385,740
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                                                             $7,712,594
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment                                                                                                                                         $21,414,637
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                                                                      $21,414,637
OTHER ASSETS
Loans to Insiders* 1                                                                                                                                                     $0
Other Assets (attach schedule)                                                                                                                                       857,662
TOTAL OTHER ASSETS                                                                                                                                                 $857,662

TOTAL ASSETS                                                                                                                                                    $29,984,893


                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Accrued Liabilities (see schedule)
Deferred Lease Credits
Secured Debt / Leases Obligations (Post Petition Interest)
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                                                                    $29,729,084
Priority Debt
Unsecured Debt
 Accounts Payable                                                                                                                                                  5,154,857
 PPP Loan                                                                                                                                                          6,482,827
 Acrued Liabilites (see schedule)                                                                                                                                  1,412,643
 Other Liabilities (see schedule)                                                                                                                                    185,318
 Deferred Lease Credits                                                                                                                                           10,065,439
TOTAL PRE-PETITION LIABILITIES                                                                                                                                  $53,030,168

TOTAL LIABILITIES                                                                                                                                               $53,030,168
OWNER EQUITY
Member Activity                                                                                                                                                 $16,495,173
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings                                                                                                                                                (31,611,871)
Adjustments to Owner Equity (attach schedule)
Net Income                                                                                                                                                        (7,928,577)
NET OWNER EQUITY                                                                                                                                                 (23,045,275)

TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                                                            $29,984,893

*"Insider" is defined in 11 U.S.C. Section 101(31).

1-                                                                                                                                                     .
     At December 31, 2018, the Company had unsecured, noninterest bearing advances due from a member in the amount of $1,554,059
2-
     As of the sale transaction date the Debtor's only asset was cash as reported on MOR 1 Disbursements.
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In re: BARFLY VENTURES, LLC, et al.                                                                      Case No. 20-1947-jwb
              Debtor                                                                                     Reporting Period: April 30, 2021

                                                      STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                      Beginning         Amount                                                                Ending
                                                        Tax            Withheld or         Amount              Date           Check No.         Tax
                                                      Liability         Accrued             Paid               Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income                                                                                                N/A
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                            SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                          Number of Days Past Due
                                                       Current             0-30            31-60          61-90                Over 90         Total
Accounts Payable                                                                                                                                          $0
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                         $0               $0                $0                $0                 $0               $0

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).
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In re: BARFLY VENTURES, LLC, et al.                                                            Case No. 20-1947-jwb
             Debtor                                                                            Reporting Period: April 30, 2021


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                       Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                                Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                        Yes            No
1. Have any assets been sold or transferred outside the normal course of business                                  X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                 X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation                X
   below.
4. Are workers compensation, general liability and other necessary insurance                         X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                    X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.


Debtor Questionnaire explanation.
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                                                        Return Service Requested                                                 Page:             1 of 1
                                                                                                                                 Statement Date: 04/30/2021
                                                                                                                                 Primary Account: XXXXXX4777
                                                                             07001
                                                                                                                                 Documents:       0

                                                                                                                                 Period: 03/31/21 to 04/30/21
MGMCSTMTN 210503-18686-0001




                                                                                                                               E
                                                                BARFLY VENTURES, LLC                                    <T> 30-0
                                                                35 OAKES ST SW STE 400                                         0
                                                                GRAND RAPIDS, MI 49503                                         0




                               COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                  Account: XXXXXX4777
                                Last Statement        Previous Balance        This Statement          Current Balance     Total Credits          Total Debits
                                      03/31/21           61,603.34                   04/30/21           41,594.80         106,652.61 (2)        126,661.15 (12)


                               CREDITS
                              Date Description                                                                                                          Amount
                              04/08 Infinisource0706 Pc Mar21                                                                                          1,652.61
                              04/21 Incoming Wire           Barfly Ventures, Llc                                                                     105,000.00

                               CHECKS
                               Date        Check No       Amount              Date         Check No      Amount           Date       Check No        Amount
                              04/22         84191           658.00           04/22         84195         1,414.73        04/27       84198             864.40
                              04/23         84192             9.73           04/20         84196           100.00        04/27       84199             316.25
                              04/20         84193 *         470.35           04/27         84197         1,159.67        04/29       84200         104,749.00
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                                          Amount
                              04/15 Commercial Service Charge                                                                                             112.77
                              04/15 Internet Transfer To Internal Bank Ac XXXXXX639 On 4/15/21 At 9:32                                                  9,050.25
                              04/26 Adp Payroll Fees Adp - Fees                                                                                         7,756.00

                               DAILY BALANCE
                                 Date                    Balance                   Date                 Balance            Date                  Balance
                                  04/08                 63,255.95                  04/21              158,522.58           04/26              148,684.12
                                  04/15                 54,092.93                  04/22              156,449.85           04/27              146,343.80
                                  04/20                 53,522.58                  04/23              156,440.12           04/29               41,594.80
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                                                                                              Business eBanking




Activity - Deposit Accounts
Report created:            05/06/2021 01:20:40 PM (ET)
Account:                   072410013 • *5554 • Checking • COMMERCIAL CHECKING
Date range:                4/1/2021 to 4/30/2021
Transaction types:         All transactions
Detail option:             Includes transaction detail


072410013 • *5554 • Checking • COMMERCIAL CHECKING

Post Date            Reference         Additional     Description                     Debit         Credit   Calculated
                                       Reference                                                               Balance
                                                      PREAUTHORIZED ACH DEBIT
04/30/2021           BARFLY                                                      $88,964.64                  $474,936.10
                                                      BARFLY VENTURES FEES
                     VENTURES FE                      210430
                                                      BOOK TRANSFER CREDIT
                                                      REF          FUNDS
                                                      TRANSFER FRMDEP
04/29/2021                                            XXXXXX7488 FROM                         $550,000.00    $563,900.74
                                                      XFER
                                                      FOR PROFESSIONALS AND
                                                      PLANTE
                                                      OUTGOING MONEY
                                                      TRANSFER
04/21/2021           000000000000000                                BARFLY      $105,000.00                   $13,900.74
                                                      VENTURES US TRUSTEE
                                                      FEES
                                                      BOOK TRANSFER CREDIT
04/21/2021                                            REF          FUNDS                      $105,000.00    $118,900.74
                                                      TRAN      RMDEP
                                                      XXXXXX7488 FROM
                                                      ACCOUNT ANALYSIS FEE
04/16/2021           000000000000000                  ANALYSIS ACTIVITY             $51.25                    $13,900.74
                                                      FOR 03/21
                          Case:20-01947-jwb          Doc #:483 Filed: 05/13/2021    Page 12 of 14


                                                                                             Business eBanking




Activity - Deposit Accounts
Report created:            05/06/2021 01:19:58 PM (ET)
Account:                   072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
Date range:                4/1/2021 to 4/30/2021
Transaction types:         All transactions
Detail option:             Includes transaction detail


072410013 • *5608 • Checking • SMALL BUSINESS CHECKING

Post Date            Reference         Additional     Description                    Debit          Credit   Calculated
                                       Reference                                                               Balance
                                                      ACCOUNT ANALYSIS FEE
04/16/2021           000000000000000                  ANALYSIS ACTIVITY              $3.00                   $14,762.04
                                                      FOR 03/21
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      BARFLY VENTURES, LLC                                                                   Page 2 of 2
      April 30, 2021                                                                       XXXXXX7488




OVERDRAFT/RETURN ITEM FEES

                                                           Total for                      Total
                                                         this period               year-to-date

         Total Overdraft Fees                                    $0.00                       $0.00

         Total Returned Item Fees                                $0.00                       $0.00




                                    Thank you for banking with TCF National Bank
